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Attorneys for Genesis Healthcare, Inc.


                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                            BUTTE DIVISION

GINA JAEGER, individually, AND AS) Cause No. CV-16-30-BU-SEH
PERSONAL REPRESENTATIVE OF       )
THE ESTATE OF HER SISTER         )
CHARLENE HILL,                   )
                                 ) GENESIS HEALTHCARE INC’S
         Plaintiff,              ) MOTION TO DISMISS
                                 ) PLAINTIFF’S AMENDED
    vs.                          ) COMPLAINT WITH PREJUDICE
                                 )
WILLIAM POWELL, DANA             )
WADDELL, AMBER DAYHUFF,          )
PEAK MEDICAL MONTANA             )
OPERATIONS, LLC AND GENESIS )
HEALTHCARE, INC.,                )
                                 )
         Defendants.             )
    _________________________________________________________
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       Genesis HealthCare, Inc. (“Genesis”) moves the Court to dismiss Plaintiff’s

Amended Complaint against Genesis with prejudice. Specifically, Genesis moves

the Court to dismiss the Amended Complaint filed on August 2, 2016 (Doc. No.

28), in accordance with the Federal Rules of Civil Procedure for: (1) failure to state

a claim upon which relief can be granted (Fed. R. Civ. P. 12(b)(6)); (2) lack of

personal jurisdiction (Fed. R. Civ. P. 12(b)(2)); (3) insufficient process (Fed. R.

Civ. P. 12(b)(4)); and (4) insufficient service of process (Fed. R. Civ. P. 12(b)(5)).

        Genesis respectfully requests the Court grant its motion to dismiss

Plaintiff’s Amended Complaint with prejudice for the reasons set forth in its brief

in support of its motion to dismiss with prejudice.

      Pursuant to Local Rule 7.1(c)(1), Genesis has contacted counsel for Plaintiff.

Plaintiff objects to this motion. Peak Medical Montana Operations, LLC has no

objection and agrees the Court should dismiss Plaintiff’s complaint with prejudice.

      Dated this 18th day of August, 2016.

                                        CROWLEY FLECK PLLP

                                        /s/ Brett P. Clark
                                               Kiely Keane
                                               Brett P. Clark
                                               Charles K. Smith
                                               Attorneys for Genesis HealthCare,
                                               Inc.




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